Case 1:04-cr-10054-.]DT Document 26 Filed 06/24/05 Page 1 of 2 Page|D 31

   

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IN THE UNITED sTATEs DISTRICT coURT ~t ~‘ ' " ~"“'
FOR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA §§ ':i)FYN\-JACE<SQKJ
vs. criminal N@. 1=04-c3-'1©@a'2‘-_01-T
014' IODSLJ

DALLIS JEROME PRICE
ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY TRIAL ACT
Upon oral motion of counsel for defendant and the Government

the trial date of July 5, 2005, is continued to allow counsel for
the Government additional time to investigate. The ends of justice
served by taking such action outweigh the best interest of the
public and the defendant in a speedy trial.

The Clerk shall re-set the REPORT DATE/MOTION HEARING for

Tuesda Jul 5 2005 at 9:00 A.M. and reset TRIAL DATE for

 

Monday, July 18. 2005 at 9:30 A.M. The Court finds that the
grounds for this continuance justified excluding the period of
July 5, 2005, to July 18, 2005, as excludable delay under

Title 18 U.S.C.§3l€l (h) (8) (B) (iv) and (h) (8) (A) .

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JAMES . TODD
UNITE STATES DISTRICT JUDGE

DATE: 23 297/rvL .Q‘O'DS/

IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy cf the document docketed as number 26 in
case 1:04-CR-10054 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

